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                           UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

                                             )
   Fallen Productions, Inc., et al.          )   Case No.: 1:20-cv-33-JAO-RT
                                             )   (Copyright)
                        Plaintiffs,          )
      vs.                                    )   DECLARATION OF JOSHUA J.
                                             )   LEE
   MICAL MESOT,                              )
                                             )
                        Defendant.           )
                                             )
                                             )

                            DECLARATION OF JOSHUA J. LEE

         JOSHUA J. LEE, hereby declares under penalty of law that the following is

  true and correct:

         1.     I am employed as associate attorney for Plaintiffs’ counsel. I have

  personal knowledge of the matters stated herein, and this declaration is given in

  support of Plaintiffs’ Motion for Default Judgment (“Motion”) against Defendant

  Mical Mesot (“Defendant”).

         Legal Services

         2.     I have direct knowledge of the legal services performed for Plaintiffs in

  filing this action.




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          3.    Plaintiffs seek an award of attorney’s fees for legal services and for its

  costs of suit as described in detail below.

  Joshua Lee’s Attorney/Law Clerk Fees

   Date           Description                              Hours      Code

   8/13/2020      Preparing Memorandum in Support        3.25         E
                  of Motion for Default Judgment
                  -Studying recent default judgment
                  decisions;
                  -proofreading motion, including
                  checking all citations and legal
                  arguments;
                  -adding table of contents and table of
                  authorities;
                  -editing and finalizing memorandum;
   8/13/2020      Preparing Declaration and              0.5          E
                  Tabulating Attorney Fees for Memo
                  TOTAL HOURS                            3.75


          E. Motions Practice

                JOSHUA LEE          3.75 hours @ $125/hour =                 $ 468.75

                Total Fees                                                   $ 468.75

          4.    The hourly rate proposed to be charged for the foregoing services by

  me were at or below rates customarily charged in the community for similar work

  by attorneys of similar, experience, ability, and standing in the Honolulu legal

  community. Declarant specializes in intellectual property, particularly biological

  materials and medical devices.


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        5.     I graduated from University of Washington School of Law in June of

  2020. The Washington State Bar notified me of my admittance, and my swearing-

  in date will be August 20, 2020.

        6.     I am licensed to practice before the United States Patent and Trademark

  Office since 2020. I have a Bachelor of Arts in Biological Sciences from Vanderbilt

  University, and a Master of Science in Food Science and Technology from Virginia

  Tech. I have experience in intellectual property prosecution and infringement. I

  was selected by the University of Washington School of Law to be the recipient of

  the Thurston Legal Scholarship, as well as a member of the Diversity, Equity, and

  Inclusion Board.

        7.     Declarant’s hourly rate of $125 is below the 2014 mean hourly rate of

  $250 for an associate attorney at a private firm according to the AIPLA 2015 Report

  of the Economic Survey. Am. Intellectual Prop. Law Ass’n, Report of the Economic

  Survey (2015), at I-36.

        8.     The legal services performed by declarant were reasonable and

  necessary in connection with the proceedings in the above captioned matter.

        9.     The total fee requested is reasonable and in accordance with the

  standards of Hawaii Rules of Professional Conduct Rule 1.5.

        I declare under penalty of perjury that the foregoing is true and correct.




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        DATED: Kailua-Kona, Hawaii, August 13, 2020.

                               CULPEPPER IP, LLLC


                               _________________
                               Joshua J. Lee




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